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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                                       )
PEIFA XU, Individually and On Behalf of                )
All Others Similarly Situated,                         ) Case No.
                                                       )
                                      Plaintiff,       )
                                                       )
                         v.                            ) CLASS ACTION COMPLAINT
                                                       )
                                                       )
GRIDSUM HOLDING INC., GUOSHENG                         ) JURY TRIAL DEMANDED
WI and PENG ZHANG,                                     )
                                                       )
                                                       )
                                   Defendants.         )

                                 CLASS ACTION COMPLAINT

       Plaintiff Peifa Xu (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants,

alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants,

United States Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Gridsum Holding Inc. (“Gridsum” or the “Company”), analysts’

reports and advisories about the Company, and information readily obtainable on the Internet.

Plaintiff believes that substantial evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION
       1.      This is a federal securities class action on behalf of a class consisting of all

persons other than Defendants who purchased or otherwise acquired Gridsum securities between

April 27, 2017 through April 20, 2018, both dates inclusive (the “Class Period”), seeking to

recover damages caused by Defendants’ violations of the federal securities laws and to pursue

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remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its top

officials.

         2.      Gridsum Holding, Inc. is a holding company that designs and develops

sophisticated data analysis software for multinational and domestic enterprises and government

agencies in China. The Company offers software that allows customers to collect and analyze

information that is collected, indexed, and stored in an organized manner.

         3.      Founded in 2005, Gridsum is headquartered in Beijing, China, and its ADRs trade

on the NASDAQ Global Select Market (“NASDAQ”) under the ticker symbol “GSUM.”

         4.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Gridsum

lacked effective internal control over financial reporting; (ii) consequently, Gridsum’s financial

statements were inaccurate and misleading, and did not fairly present, in all material respects, the

financial condition and results of operations of the Company; and (iii) as a result of the

foregoing, Gridsum’s public statements were materially false and misleading at all relevant

times.

         5.      On April 23, 2018, Gridsum issued a press release entitled “Gridsum Reports

Suspension of Audit Report on Financial Statements,” announcing that its “audit report for the

Company’s financial statements for the year ended December 31, 2016 should no longer be

relied upon.” According to the press release, Gridsum’s auditor identified certain issues in

conducting its audit of Gridsum’s financial results for the year ended December 31, 2017. Those

issues related to “certain revenue recognition, cash flow, cost, expense items, and their

underlying documentation which [the auditor] had previously raised” with Gridsum.



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        6.      On this news, Gridsum’s ADR price fell $1.17, or 16.04%, to close at $6.12 on

April 23, 2018.

        7.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                  JURISDICTION AND VENUE

        8.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. §240.10b-5).

        9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and Section 27 of the Exchange Act.

        10.     Venue is proper in this Judicial District pursuant to §27 of the Exchange Act (15

U.S.C. §78aa) and 28 U.S.C. §1391(b). Gridsum’s ADRs trade on the NASDAQ, located within

this Judicial District.

        11.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.


                                             PARTIES

        12.     Plaintiff, as set forth in the attached Certification, acquired Gridsum’s securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

        13.     Defendant Gridsum is headquartered in China, with principal executive offices

located at Jade Palace Hotel Office Building, 76 Zhichun Road Haidian District, 8th Floor,


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Beijing, China 100086. Gridsum’s ADRs trade on the NASDAQ under the ticker symbol

“GSUM.”

       14.     Defendant Guosheng Qi (“Qi”) founded and has served at all relevant times as the

Company’s Chief Executive Officer (“CEO”) and Chairman.

       15.     Defendant (Michael) Peng Zhang (“Zhang”) has served as the Company’s Chief

Financial Officer (“CFO”) since February 2014.

       16.     The Defendants referenced above in ¶¶ 14-15 are sometimes referred to herein

collectively as the “Individual Defendants.”

       17.     The Individual Defendants possessed the power and authority to control the

contents of Gridsum’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of the Company’s SEC filings and press

releases alleged herein to be misleading prior to or shortly after their issuance and had the ability

and opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions with the Company, and their access to material information available to them but not to

the public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive representations

being made were then materially false and misleading. The Individual Defendants are liable for

the false statements and omissions pleaded herein.

                               SUBSTANTIVE ALLEGATIONS

                                           Background

       18.     Gridsum Holding, Inc. is a holding company that designs and develops

sophisticated data analysis software for multinational and domestic enterprises and government

agencies in China. The Company offers software that allows customers to collect and analyze

information that is collected, indexed, and stored in an organized manner.



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        Materially False and Misleading Statements Issued During the Class Period

       19.     The Class Period begins on April 27, 2017, when Gridsum filed an Annual Report

on Form 20-F with the SEC, announcing the Company’s financial and operating results for the

quarter and fiscal year ended December 31, 2016 (the “2016 20-F”). For fiscal year 2016,

Gridsum reported a net loss of $67.69 million, or $6.47 per diluted share, on revenue of $400.26

million, compared to a net loss of $48.82 million, or $8.52 per diluted share, on revenue of

$234.84 million for fiscal year 2015.

       20.     In the 2016 20-F, the Company stated in relevant part:

               Our discussion and analysis of our financial condition and results of
       operations are based upon our consolidated financial statements, which have been
       prepared in accordance with U.S. GAAP, appearing elsewhere in this annual
       report. The preparation of these consolidated financial statements requires us to
       make estimates, judgments and assumptions that affect the reported amounts of
       assets, liabilities, revenues, expenses and related disclosure of contingent assets
       and liabilities. We evaluate these estimates, judgments and assumptions on an on-
       going basis for taxes.

                Our estimates are based on historical experience and various other
       assumptions that we believe to be reasonable under the circumstances. These
       estimates form the basis for our judgments about the carrying values of assets and
       liabilities that are not readily apparent from other sources. Actual results may
       differ materially from such estimates under different assumptions or conditions.

       21.     The 2016 20-F contained signed certifications pursuant to the Sarbanes-Oxley Act

of 2002 by Defendants Qi and Zhang, stating, in relevant part, that the information contained in

the 2016 20-F “fairly presents, in all material respects, the financial condition and results of

operations of the Company.”

       22.     On May 26, 2017, Gridsum issued a press release, filed as Exhibit 99.1 to Form

6-K with the SEC, entitled “Gridsum Reports Unaudited First Quarter 2017 Financial Results.”

The press release stated in relevant part:

       “The first quarter of 2017 was another solid quarter with robust financial and
       operating results,” stated Mr. Guosheng Qi, Chief Executive Officer of Gridsum.
       “We are pleased to see our topline continue its strong growth momentum,


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       primarily driven by solid customer base expansion, which we target to grow by
       30-40% in 2017, and a steady increase in Average Revenue Per User (“ARPU”).

                                                ***

       Mr. Michael Zhang, Chief Financial Officer of the Company, commented, “In the
       first quarter of 2017, our net revenues increased by 57.3% year over year to
       RMB100.6 million, driven by a solid 51.5% increase in our Enterprise revenues
       and 112.4% increase in e-Government and other revenues. The significant growth
       of our e-Government and other business was primarily driven by the better-than-
       expected performance in all the three revenue streams of e-Government, new
       media and legal services with legal services, in particular, exhibiting exceptional
       growth. To fuel further topline growth, we will leverage our superior sales
       efficiency and continue our targeted investment in sales and marketing to broaden
       our market visibility. R&D will remain another key area of focused investment to
       strengthen our technology leadership and drive expansion into new products and
       services.”

       23.     On August 25, 2017, Gridsum issued a press release, filed as Exhibit 99.1 to Form

6-K with the SEC, entitled “Gridsum Reports Unaudited Second Quarter 2017 Financial

Results.” The press release stated in relevant part:

       “We delivered strong financial and operating results once again in the second
       quarter of 2017,” stated Mr. Guosheng Qi, Chief Executive Officer of Gridsum.
       “Our topline maintained its robust growth trajectory, primarily driven by solid
       customer base expansion and increased Average Revenue Per User (‘ARPU’). We
       remain on target to grow our customer count by 30% to 40% in 2017. In
       particular, we were very effective in cross-selling and upselling our products and
       services to existing clients.

                                                ***



       Mr. Michael Zhang, co-Chief Financial Officer of the Company, commented, “In
       the second quarter of 2017, our net revenues increased by 43.8% year over year to
       RMB120.9 million, driven by a 34.6% increase in our Enterprise revenues and a
       123.9% increase in e-Government and other revenues. Although our gross margin
       declined from 87.2% to 83.3% year over year, it is within our budgeted range and
       expectations as we increased our investment in optimizing and enhancing the
       performance and security of our system and database. During the quarter, we also
       increased our spending in sales and marketing as well as research and
       development, consistent with our strategy of augmenting our brand recognition
       and solidifying our technology leadership. At the same time, we are carefully
       monitoring the ROI of our investments and making sure that our cost structure is
       optimized for efficiency. Going forward, we will continue to prudently invest in
       our future growth.”

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       24.     On November 29, 2017, Gridsum issued a press release, filed as Exhibit 99.1 to

Form 6-K with the SEC, entitled “Gridsum Reports Unaudited Third Quarter 2017 Financial

Results.” The press release stated in relevant part:

       Mr. Guosheng Qi, Chief Executive Officer of Gridsum, commented, “We
       delivered another strong quarter of growth driven by our continued effectiveness
       at attracting new clients, including companies such as Dyson, Domino’s, Stanley
       Black and Decker, Union Life, Viking Cruise, and others, to our core marketing
       automation business, and cross selling and upselling additional products and
       features which drove growth of average revenue per customer (‘ARPU’) within
       our expanding portfolio of clients. We have also made considerable progress in
       our strategy to develop solutions for new verticals, such as an intelligent customer
       relationship management system (CRM) which is anticipated to be launched next
       month and the industrial internet of things (IIoT). In August, Mr. Xijian Liu
       joined us as our chief strategy officer. He also heads our newly established IIoT
       division. Mr. Liu’s more than three decades of IT and strategic management
       experience at one of the largest state-owned petrochemical companies in China
       lays a solid foundation for our rapid development in the IIoT space. Moving
       forward, we will continue to consolidate long-term relationships with our clients
       and delve deeper into their businesses by offering solutions to multiple parts of
       their organizations to help them with their digital transformations. We continue to
       target having around half of our growth being driven by new client additions, and
       around half from ARPU expansion.”

                                                ***

       Mr. Michael Zhang, co-Chief Financial Officer of Gridsum, concluded, “During
       the quarter, enterprise revenues increased by 47.8% while e-Government and
       other revenues increased by an even faster 98.0%, albeit from a smaller base. We
       continue to invest for the future while carefully balancing growth opportunities
       with a path to profitability. We believe that with rapid top line growth our
       operating leverage will become more significant. We have already started to see
       solid leverage from our sales and marketing (‘S&M’) spending, and we expect to
       see greater stability in our research and development (‘R&D’) and general and
       administrative (‘G&A’) spending, which should put us on a stronger path to
       profitability. R&D remains a critical element of our business to ensure that we
       maintain our leading position in the enterprise SaaS space over the short, medium
       and long term. As such, we expect that R&D spending, in absolute terms, to
       continue growing at a sustainable level in the coming quarters.”

       25.     The statements referenced in ¶¶ 19-24 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose

material adverse facts about the Company’s business, operational and compliance policies.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

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(i) Gridsum lacked effective internal control over financial reporting; (ii) consequently,

Gridsum’s financial statements were inaccurate and misleading, and did not fairly present, in all

material respects, the financial condition and results of operations of the Company; and (iii) as a

result of the foregoing, Gridsum’s public statements were materially false and misleading at all

relevant times.

                                  The Truth Begins to Emerge

       26.        On April 23, 2018, Gridsum issued a press release entitled “Gridsum Reports

Suspension of Audit Report on Financial Statements,” announcing that its “audit report for the

Company’s financial statements for the year ended December 31, 2016 should no longer be

relied upon.” The press release further stated in relevant part:

               BEIJING, April 23, 2018 — Gridsum Holding Inc. (“Gridsum” or
       “Company”) (NASDAQ:GSUM), a leading provider of cloud-based big-data
       analytics and artificial intelligence (“AI”) solutions in China, today reported that
       on April 20, 2018, PricewaterhouseCoopers Zhong Tian LLP (“PwC”), the
       Company’s independent registered public accounting firm, notified the
       Company’s Board of Directors and Audit Committee that PwC’s audit report
       for the Company’s financial statements for the year ended December 31, 2016
       should no longer be relied upon. Therefore, investors should not rely on that
       audit opinion.

               In its letter, dated April 16, 2018 (“PwC Letter”), PwC informed the
       Company of certain issues it had identified in conducting its audit of the
       Company’s financial results for the year ended December 31, 2017. Those
       issues relate to certain revenue recognition, cash flow, cost, expense items, and
       their underlying documentation which PwC had previously raised with the
       Company. Of the items specifically identified in the PwC Letter, the Company
       estimates a 2016 revenue impact of approximately RMB 2 million and a 2016
       expense impact of approximately RMB 6 million. There can be no assurance that
       the Company or PwC will not identify more items as the Company finalizes the
       review. The Audit Committee Chairman and the Company’s Co-Chief Financial
       Officer have discussed the topics covered by the PwC Letter with representatives
       of PwC. The Company’s Audit Committee is fully investigating these issues with
       assistance from external legal and accounting advisors and is working diligently
       toward an expeditious conclusion of the investigation. The Company undertakes
       no obligation to update its disclosures on this topic until the Audit Committee
       investigation is complete. Because PwC will not be in a position to issue reports
       on the Company’s financial statements until the Audit Committee completes its
       review and PwC is satisfied that any outstanding issues have been satisfactorily


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       addressed, the Company’s 20-F filing will be delayed until such audit is
       completed.

               Mr. Guosheng Qi, Chief Executive Officer of Gridsum, commented, “For
       many years, starting well before our IPO, we have been committed to
       transparency and good corporate governance and remain so. When we became
       aware of certain accounting issues, we immediately took measures to address this
       situation. Our Audit Committee started an investigation and appointed a respected
       global law firm to conduct that review with the assistance of ‘big four’ forensic
       accounting specialists. This work is still ongoing. I have full confidence in the
       integrity and professionalism of all parties involved and we hope to report our
       results as soon as practicable after that work concludes.

              Meanwhile, we continue to make good progress in our efforts to grow the
       Company and expand our product range and client base. Our fundamentals and
       business prospects remain robust, and we look forward to continuing to work
       toward increasing shareholder value.”

(Emphasis added.)

       27.     On this news, Gridsum’s ADR price fell $1.17, or 16.04%, to close at $6.12 on

April 23, 2018.

       28.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.


                     PLAINTIFF’S CLASS ACTION ALLEGATIONS

       29.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired Gridsum securities during the Class Period (the “Class”); and were damaged

upon the revelation of the alleged corrective disclosures. Excluded from the Class are Defendants

herein, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Defendants have or had a controlling interest.




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        30.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Gridsum securities were actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Gridsum or its transfer agent and may be notified

of the pendency of this action by mail, using the form of notice similar to that customarily used

in securities class actions.

        31.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        32.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

        33.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

                  whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Gridsum;

                  whether the Individual Defendants caused Gridsum to issue false and
                   misleading financial statements during the Class Period;

                  whether Defendants acted knowingly or recklessly in issuing false and
                   misleading financial statements;




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                  whether the prices of Gridsum securities during the Class Period were
                   artificially inflated because of the Defendants’ conduct complained of herein;
                   and

                  whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

        34.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        35.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                  Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

                  the omissions and misrepresentations were material;

                  Gridsum securities are traded in an efficient market;

                  the Company’s shares were liquid and traded with moderate to heavy volume
                   during the Class Period;

                  the Company traded on the NASDAQ and was covered by multiple analysts;

                  the misrepresentations and omissions alleged would tend to induce a reasonable
                   investor to misjudge the value of the Company’s securities; and

                  Plaintiff and members of the Class purchased, acquired and/or sold Gridsum
                   securities between the time the Defendants failed to disclose or misrepresented
                   material facts and the time the true facts were disclosed, without knowledge of
                   the omitted or misrepresented facts.

        36.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.




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        37.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

                                            COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        38.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        39.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        40.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the

other members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and employed devices, schemes and artifices to

defraud in connection with the purchase and sale of securities. Such scheme was intended to,

and, throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and

other Class members, as alleged herein; (ii) artificially inflate and maintain the market price of

Gridsum securities; and (iii) cause Plaintiff and other members of the Class to purchase or

otherwise acquire Gridsum securities and options at artificially inflated prices. In furtherance of

this unlawful scheme, plan and course of conduct, Defendants, and each of them, took the

actions set forth herein.


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       41.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Gridsum securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Gridsum’s finances and business prospects.

       42.      By virtue of their positions at Gridsum , Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

       43.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Gridsum, the Individual Defendants had knowledge of the details of

Gridsum’s internal affairs.

       44.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.     Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Gridsum. As officers and/or directors of a publicly-held company, the Individual Defendants

had a duty to disseminate timely, accurate, and truthful information with respect to Gridsum’s
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businesses, operations, future financial condition and future prospects.      As a result of the

dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of Gridsum securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning Gridsum’s business and financial condition which

were concealed by Defendants, Plaintiff and the other members of the Class purchased or

otherwise acquired Gridsum securities at artificially inflated prices and relied upon the price of

the securities, the integrity of the market for the securities and/or upon statements disseminated

by Defendants, and were damaged thereby.

       45.     During the Class Period, Gridsum securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Gridsum securities at prices artificially inflated by Defendants’ wrongful conduct. Had

Plaintiff and the other members of the Class known the truth, they would not have purchased or

otherwise acquired said securities, or would not have purchased or otherwise acquired them at

the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff

and the Class, the true value of Gridsum securities was substantially lower than the prices paid

by Plaintiff and the other members of the Class. The market price of Gridsum securities declined

sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class

members.

       46.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

       47.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases,
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acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          48.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

          49.   During the Class Period, the Individual Defendants participated in the operation

and management of Gridsum, and conducted and participated, directly and indirectly, in the

conduct of Gridsum’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Gridsum’s misstatement of income and expenses and false

financial statements.

          50.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to

Gridsum’s financial condition and results of operations, and to correct promptly any public

statements issued by Gridsum which had become materially false or misleading.

          51.   Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which Gridsum disseminated in the marketplace during the Class

Period concerning Gridsum’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Gridsum to engage in the wrongful acts

complained of herein. The Individual Defendants therefore, were “controlling persons” of

Gridsum within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of

Gridsum securities.
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       52.        Each of the Individual Defendants, therefore, acted as a controlling person of

Gridsum. By reason of their senior management positions and/or being directors of Gridsum,

each of the Individual Defendants had the power to direct the actions of, and exercised the same

to cause, Gridsum to engage in the unlawful acts and conduct complained of herein. Each of the

Individual Defendants exercised control over the general operations of Gridsum and possessed

the power to control the specific activities which comprise the primary violations about which

Plaintiff and the other members of the Class complain.

       53.        By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Gridsum.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.         Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

       B.         Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;

       C.         Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.         Awarding such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: April 25, 2018                                   Respectfully submitted,
                                                        POMERANTZ LLP

                                                        /s/ Jeremy A. Lieberman
                                                        Jeremy A. Lieberman

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GRIDSUM HOLDING INC. (GSUM)                                              Xu, Peifa

                              LIST OF PURCHASES AND SALES

                     PURCHASE               NUMBER OF           PRICE PER
      DATE            OR SALE              SHARES/UNITS        SHARES/UNITS

        3/16/2018              Purchase                2,000             $9.2690
        3/22/2018              Purchase                8,000             $8.5000
        4/10/2018              Purchase                1,000             $8.0400
        4/16/2018              Purchase                5,000             $7.7000
